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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

JO ANN PARKER KELTY,

Plaintiff,

vs.                                           Case No.: 6:10-cv-1910-Orl-35GJK

PENNCRO ASSOCIATES, INC.,

Defendant.
_____________________________/


                                  NOTICE OF SETTLEMENT

          Plaintiff, JO ANN PARKER KELTY, (hereinafter referred to as “Plaintiff”), through

undersigned counsel, hereby notifies the Court that a settlement has been reached in the instant

matter.



Dated: January 13, 2011                      Respectfully submitted,

                                             /s Andrew I. Glenn
                                             Andrew I. Glenn
                                             E-mail: Andrew@cardandglenn.com
                                             Florida Bar No. 577261
                                             J. Dennis Card, Jr.
                                             E-mail: Dennis@cardandglenn.com
                                             Florida Bar No. 0487473
                                             Card & Glenn, P.A.
                                             2501 Hollywood Boulevard, Suite 100
                                             Hollywood, Florida 33020
                                             Telephone: (954) 921-9994
                                             Facsimile: (954) 921-9553
                                             Attorneys for Plaintiff




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                                    CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on January 13, 2011, I electronically filed the foregoing

document with the Clerk of Court using CM/ECF. I also certify that the foregoing document is

being served this day on all counsel of record identified on the attached Service List in the

manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF

or in some other authorized manner for those counsel or parties who are not authorized to receive

electronically Notices of Filing.



                                              /s Andrew I. Glenn
                                              Andrew I. Glenn




                                         SERVICE LIST


Penncro Associates, Inc.
95 James Way, Suite 113
Southampton, PA 18966
Served via Regular U.S. Mail




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